UNITED STATES BANKRUPTCY COURT!
FOR THE WESTERN DISTRICT OF TEXAS

EL PASO DIVISION 2019 APR 17 PM [2s |
IN RE: SHEEN celine
ROGELIO VELEZ, Upper rey COURT
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SePUSY
D/B/A QUANTUM HOME CARE, LLC. Chapter 7
Debtor,
/ Case No.18-32109HCM

 

KAPITUS SERVICING, INC., F/K/A
COLONIAL FUNDING NETWORK, INC.
AS SERVICING AGENT FOR
PROFESSIONAL MERCHANT ADVANCE
CAPITAL, LLC.

Plaintiff

. 19-2004

ROGELIO VELEZ,

Defendant

ANSWER AND AFFIRMATIVE DEFENSES
Defendant(s): Rogelio Velez, d/b/a Quantum Home Care, LLC., and Rogelio Velez.
|. ANSWER

Jurisdiction is established by 28 U.S.C. § 1334 and 28 U.S.C. § 157. Defendant(s)
answer the complaint as follows:

1. Admit the statements contained in paragraphs/ numbers: Deny.
2. Deny the statements contained in paragraph numbers: Counts 1-4;

3. Lack knowledge and, therefore, deny the statements contained in paragraph numbers:
None.

Defendant(s) deny everything in the complaint not admitted above.
ll. AFFIRMATIVE DEFENSES

Defendant(s) other defenses are:
1. This debt was not obtained by Debtor Defendant by actual fraud, false pretenses, or
false representations;

2. Plaintiff cannot and will not be able to meet its burden of proof showing that defendants
had an intent to deceive plaintiff and that plaintiff justifiable reliance by Plaintiff on any

misrepresentations; and

3. The acquisition of this loan (debt) does not involve "moral turpitude", intentional
wrongdoing nor does the requisite “mens rea” exist.

WHEREFORE, Defendani(s) request that this lawsuit be dismissed and that a
judgment be entered against plaintiff for any counterclaims, costs, or attorney fees.

DATED this_/2 _ day of April, 2019

 

Rogelié Velez, (Defendant
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Phone: 9/S- DY -P% ETF
CERTIFICATE OF SERVICE

. Book ZA , hereby certify that on this )? JT day of

fe: f , 2019, a true and correct copy of the foregoing “Answer and
Affirmative Defenses” was E-filed and served on all appropriate service contacts

pursuant to Federal Rules of Civit Procedure.
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